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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                                CRIMINAL NO. RDB-19-20

     v.

 PAUL ALEXANDER,
 a/k/a/ DAVID HAYES,

               Defendant.

                            CONSENT MOTION TO EXCLUDE TIME
                            PURSUANT TO THE SPEEDY TRIAL ACT

          1.       The United States of America, by and through its counsel, Robert K. Hur, the United

States Attorney for the District of Maryland, and Matthew DellaBetta, Assistant United States Attorney

for said district, jointly with the defendant and his counsel, respectfully submits this Consent Motion

to Exclude Time Pursuant to the Speedy Trial Act, and moves to exclude time from the speedy trial

calculation pursuant to Title 18 U.S.C. § 3161.

          2.       The Speedy Trial Act, 18 U.S.C. § 3161, requires the government to bring a

criminal defendant to trial within seventy days of the defendant’s indictment or initial appearance.

The Act provides for various circumstances where a court may exclude time from this calculation.

18 U.S.C. § 3161(h).

          3.       Periods of delay which would extend the time within which trial must commence

 include delay resulting from pretrial motions, including this motion, and pretrial suppression motions.

 18 U.S.C. § 3161(h)(1)(D). A period granted by this Court in which to file pre-trial motions is

 excludable delay under the general provision of Section 3161(h)(1)(D). Although that section

 enumerates specific excludable proceedings, the list is not exhaustive. See 18 U.S.C. § 3161(h)(1)

 (excluding from computation “[a]ny period of delay resulting from other proceedings concerning the
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defendant, including but not limited to . . .”) (emphasis added). Courts have interpreted this to mean

a number of different proceedings and events concerning a defendant, including “delays resulting

from plea negotiations.” United States v. Ford, 288 Fed. Appx. 54, 58 (4th Cir. 2008) (unpublished)

(citing 18 U.S.C. § 3161(h)(1)(F)).

       4.        A continuance beyond the seventy-day speedy trial date is also permissible where

granted by the Court on the basis of a finding that the ends of justice served by taking such action

outweigh the best interests of the public and the defendant in a speedy trial. See 18 U.S.C.

§ 3161(h)(7)(A). Factors which the Court must consider in making this finding are listed in Section

3161(h)(7)(B) and include whether the failure to grant the continuance would “result in a miscarriage

of justice” or “would deny counsel for the defendant or the attorney for the Government the reasonable

time necessary for effective preparation, taking into account the exercise of due diligence.” 18 U.S.C.

§ 3161(h)(7)(B). This analysis considers a number of factors, including “whether the defendant needs

reasonable time to obtain counsel” and “whether counsel needs additional time for effective

preparation of the case.” See United States v. Mallory, 461 Fed. Appx. 352, 358 (4th Cir. 2012)

(unpublished).

       5.        The parties respectfully submit that the above factors are applicable to this prosecution

and justify a continuation of the trial date beyond the speedy trial date. The parties have recently

commenced discovery and are beginning to engage in plea negotiations.

       6.        Due to the complexity of the case and the nature of the charges, the parties require

additional time to engage in these discussions. Despite the exercise of due diligence by the parties,

both the Government and the Defendant need additional time to review case materials, interview

witnesses, and prepare for trial. Accordingly, the interests of justice served by the requested exclusion

of time outweigh the interests of the public and the Defendant in a speedy trial.
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      Wherefore, the parties respectfully request that the Court enter an Order excluding time under

the Speedy Trial Act pursuant to Title 18, United States Code, Section 3161, for the period from

January 3, 2019 through March 29, 2019. This motion includes a proposed order for the Court.


                                             Respectfully submitted,

                                             Robert K. Hur
                                             United States Attorney


                                             By: __________/s/_________________
                                             Matthew DellaBetta
                                             Assistant United States Attorney
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                                             Baltimore, Maryland 21201
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                               CRIMINAL NO. RDB-19-20

     v.

 PAUL ALEXANDER,
 a/k/a/ DAVID HAYES,

            Defendant.

                                              ORDER

          Upon consideration of the Government’s Motion to Exclude Time Pursuant to the Speedy

Trial Act, the Court finds as follows:

          The Court hereby excludes from the computation of time under the Speedy Trial Act the

period from the date of January 3, 2019 through March 29, 2019. The Court finds that, pursuant to

Title 18, United States Code, Section 31619(h)(7), that the interests of justice will be served by

continuing the trial date beyond the speedy trial date and that the ends of justice served by such a

delay in the trial outweigh the interests of the public and the defendants in a speedy trial, in that:

          A. the failure to grant this request in this proceeding would be likely to result in a

             miscarriage of justice;

          B. this case involves some complex issues and this it would be unreasonable to expect

             adequate preparation for pretrial proceedings or the trial itself within the time limits

             established by the Speedy Trial Act;

          C. the failure to set trial beyond the speedy trial date in this proceeding would deny

             counsel for the defendants and the attorney for the Government the reasonable time

             necessary for effective preparation, taking into account the exercise of due diligence;

             and
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       D. it would be in the interest of justice to allow additional time for the parties to pursue

           plea negotiations.

       THEREFORE, IT IS HEREBY ORDERED that the period from January 3, 2019 through

March 29, 2019, shall be excluded from the computation under the Speedy Trial Act. The Clerk of

the Court shall mail a copy of this Order to all counsel of record.



________________                              _______________________________
Date                                          The Honorable Richard D. Bennett
                                              United States District Judge
                                              District of Maryland
